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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 11-23831-CIV-COOKE/TURNOFF

   ROBERT ROBINS,

                 Plaintiff,

   v.

   THE TOWERS OF QUAYSIDE NO.1
   CONDOMINIUM ASSOCIATION, INC.,

               Defendant.
   _____________________________________/

        ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

          THIS MATTER is before me upon Defendant’s, The Towers of Quayside No. 1

   Condominium Association, Inc., Motion for Final Summary Judgment (“Motion for Summary

   Judgment”) (ECF No. 36).      Plaintiff, Robert Robins, filed his Response in Opposition to

   Defendant’s Motion for Final Summary Judgment (ECF No. 46), to which The Towers of

   Quayside No. 1 Condominium Association, Inc. submitted its Reply to Plaintiff’s Opposition to

   Motion for Summary Judgment (ECF No. 49). Thus, the Motion for Summary Judgment has

   been fully briefed and is ripe for adjudication. I have reviewed the Motion for Summary

   Judgment, the Response and Reply thereto, Defendant’s Statement of Material Facts, Plaintiff’s

   Counter-Statement of Material Facts in Opposition to Defendant’s Motion for Final Summary

   Judgment, the record, the relevant legal authorities, and am otherwise duly advised in the

   premises.

          For the reasons provided herein, The Towers of Quayside No. 1 Condominium

   Association, Inc.’s Motion for Summary Judgment is granted.
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                                           BACKGROUND

          The following facts, taken from both Defendant’s Statement of Material Facts and

   Plaintiff’s Counter-Statement of Material Facts in Opposition to Defendant’s Motion for Final

   Summary Judgment (“Plaintiff’s Counter-Statement of Facts”), but viewed in the light most

   favorable to the Plaintiff, are uncontested and supported by evidence in the record unless

   otherwise noted. See Davis v. Williams, 451 F.3d 759, 763 (11th Cir. 2006).

          Plaintiff, Robert Robins (“Plaintiff” or “Mr. Robins”), brings this two-count civil action

   against Defendant, The Towers of Quayside No. 1 Condominium Association, Inc. (“Defendant”

   or “Association”), alleging violations of the Fair Housing Act, as amended, 42 U.S.C. § 3601, et

   seq. arising from the Association’s request that Mr. Robins remove his service animal from the

   premises. In Count I, Plaintiff alleges that the Association “discriminated against Mr. Robins, in

   violation of 42 U.S.C. § 3604(f), on the basis of his disability” by failing to make an

   accommodation for Mr. Robins’ service animal. (Compl. ¶ 20, ECF No. 1). Count II of

   Plaintiff’s Complaint asserts that the Association “violated 42 U.S.C. § 3617 by coercing,

   intimidating, threatening, or interfering with Mr. Robins in the exercise and enjoyment of his fair

   housing rights….” (Compl. ¶ 23).

          The Association maintains a pet policy that permits a unit owner to have one cat or dog

   that weighs 20 pounds or less, is kept in accordance with the Association’s Rules and

   Regulations, and does not create or constitute a nuisance – all nuisances being banned pursuant

   to a separate provision of the Association’s policy. (Def.’s Stmnt. Facts ¶ 2). On or about

   January 27, 2009, Mr. Robins, a unit owner in the Association for 31 years, found a dog at a

   Chinese restaurant during the Chinese New Year, named her “China,” and brought her to his unit

   the following day. (Id. ¶ 5).




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                                                         The Association learned of China on or about February 2, 2009, and pursuant to its

   policy, requested that Mr. Robins register China. (Id. ¶ 6). At that time, China weighed 38

   pounds, and currently weighs at least 60 pounds. Despite being well in excess of the weight

   limit, Mr. Robins did not request an accommodation for China prior to bringing her into his unit

   or when the Association asked him to register China. (Id). Consequently, on or about February

   23, 2009, the Association informed Mr. Robins that China exceeded the allowable weight limit

   of 20 pounds. (Id. ¶ 7). In response, and for the first time, Mr. Robins stated that he required

   China for medical reasons. (Id.). Following a request for medical documentation, on or about

   March 20, 2009, Plaintiff provided documentation from his treating physician that he suffered

   from depression, and therefore, the physician recommended that Mr. Robins obtain a dog that

   would “bolster his self-esteem, create an interactive social environment and would also assist

   him with major life activities such as resting and caring for himself.” (Id.). Plaintiff later

   submitted a Reasonable Accommodation Request Verification seeking permission to keep China

   as an emotional support animal, which was granted by the Association.1 (Def.’s Stmnt. Facts ¶

   8).

                                                         Prompted by violent incidents involving China and other unit owners and their pets,

   which included biting and attacking the pets, leaving them bleeding and suffering physical harm

   (see Lehrman Dep. 5:15-8:17, Aug. 20, 2012; Yeshua Dep. 6:19- 8:12, Aug. 20, 2012), the

   Association sent Mr. Robins correspondence regarding the numerous complaints it had received


   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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     Plaintiff’s dispute of this fact is inapposite of the record. (Pl.’s Stmnt. Facts ¶ 8). Plaintiff relies upon
   the Association’s June 13, 2011 correspondence asking him to remove China as support that the
   accommodation was denied. However, this correspondence seeking China’s removal was sent over two
   years after Plaintiff’s initial request for an accommodation, and subsequent to several complaints about
   China by other residents and additional correspondence to Plaintiff regarding methods in which to
   maintain China in a safe, nuisance-free manner. See Def.’s Stmnt. Facts ¶¶ 10-16. Further, Plaintiff
   admitted that China remained on the property following his request and the Association did not seek her
   removal at that time. Pl’s Am. Resp. Def.’s First Request for Admissions ¶ 9.


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   about China’s behavior and the need to correct what it deemed a nuisance.2 (Def.’s Stmnt. Facts

   ¶ 10). In response, Plaintiff’s attorney advised that Plaintiff would keep China on a leash of no

   less than six feet in length and on the leash while in the dog park. (Id. ¶ 11). Nevertheless, the

   Association continued to receive complaints regarding China’s aggressive behavior, the truth of

   which Plaintiff adamantly disputes. (Id. ¶ 12; Pl.’s Stmnt. Facts ¶ 12).                                                                                                                                                               These complaints

   compelled the Association to request additional documentation regarding completion of

   behavioral and training courses for China. (Def.’s Stmnt. Facts ¶ 13).

                                                         Subsequent to another incident involving China and another unit owner’s dog on June 2,

   2011, Miami-Dade County Animal Services Department conducted a dangerous dog

   investigation and concluded that sufficient cause existed to designate China as dangerous. (Def.’s

   Stmnt. Facts ¶¶ 14-15). Plaintiff disputes factual predicate of the June 2, 2011 incident, and has

   appealed China’s designation as a dangerous dog to the Third District Court of Appeals. (Pl.’s

   Stmnt. Facts ¶¶ 14-15, 17; Def.’s Stmnt. Facts ¶ 17). As a result of this designation, the

   Association made its final demand that China be removed from the premises. (Def.’s Stmnt.

   Facts ¶ 16). However, prior communication from the Association to Mr. Robins has urged that

   he obtain another breed of dog and/or suggested that his failure to comply with the Association’s

   requests would result in the Association having to ask that China be removed from the premises.

   Pl.’s Stmnt. Facts ¶ 16).

                                                         Since Plaintiff obtained China and the Association was informed of his disability,

   Plaintiff asserts that the Association’s directors and staff “fostered an environment of hostility,

   humiliation, and discrimination” toward him. (Pl.’s Add’l Stmnt. Facts ¶¶ 1, 15). For example,

   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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     Plaintiff’s objection to the March 13, 2010 correspondence from the Association as hearsay is noted. I
   am considering the letter not for the truth of the matter asserted therein, but for the totality of the narrative
   and the proposition that Plaintiff received notice that his neighbors made complaints – true or false –
   inasmuch as Plaintiff admits this. See Pl.’s Stmnt. Facts ¶ 10.


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   Henry Cimetta, director and President of the Association, called Mr. Robins a “f**ing idiot” and

   “idiot” during board meetings. (Id.). This disgraceful name-calling was not related to his

   disability or to China, but was regarding a disagreement regarding repair and replacement of a

   burglar alarm. (Epstein Dep. 34:25-37:8). Mr. Cimetta has also been known to be rude to other

   residents and board members, and is regarded as having a “short fuse.”              (Id. 37:9-38:3).

   Additionally, Linda Johnston, a board member has stated to Ms. Robins “that f**king dog is

   outta here.” (Pl.’s Add’l Stmnt. Facts ¶ 2). Plaintiff further asserts that Association directors and

   their associates have harassed him in the following ways: filed false reports to the security

   officer of purported incidents involving China; demanded that China be taken to an Association

   approved veterinarian to be DNA tested to ensure that China was not a pit bull; encouraged unit

   owners to file reports of purported incidents involving China; without having conducting an

   investigation into the truth and veracity of the reports, have sent letters discriminating against

   Plaintiff based upon fabricated or grossly exaggerated accounts of aggressive interactions with

   China; and have otherwise tolerated similar behavior of other unit owners’ pets, but have deemed

   China’s behavior a nuisance violation. (Id. ¶¶ 2-5, 7-14).

                                         LEGAL STANDARD

          Summary judgment “shall be granted if the pleadings, depositions, answers to

   interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

   genuine issue as to any material fact and that the moving party is entitled to a judgment as a

   matter of law.” Allen v. Tyson Foods, Inc., 121 F.3d 642 (11th Cir. 1997) (quoting Fed. R. Civ.

   P. 56(c)) (internal quotations omitted); Damon v. Fleming Supermarkets of Florida, Inc., 196

   F.3d 1354, 1358 (11th Cir. 1999). Thus, the entry of summary judgment is appropriate “against

   a party who fails to make a showing sufficient to establish the existence of an element essential




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   to that party’s case, and on which that party will bear the burden of proof at trial.” Celotex Corp.

   v. Catrett, 477 U.S. 317, 322 (1986).

          “The moving party bears the initial burden to show the district court, by reference to

   materials on file, that there are no genuine issues of material fact that should be decided at trial.”

   Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991). “Only when that burden has

   been met does the burden shift to the non-moving party to demonstrate that there is indeed a

   material issue of fact that precludes summary judgment.” Id. Rule 56 “requires the nonmoving

   party to go beyond the pleadings and by her own affidavits, or by the ‘depositions, answers to

   interrogatories, and admissions on file,’ designate ‘specific facts showing that there is a genuine

   issue for trial.” Celotex, 477 U.S. at 324. Thus, the nonmoving party “may not rest upon the

   mere allegations or denials of his pleadings, but must set forth specific facts showing that there is

   a genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (internal

   quotation marks omitted).

          “A factual dispute is genuine if the evidence is such that a reasonable jury could return a

   verdict for the non-moving party.” Damon, 196 F.3d at 1358. When deciding whether summary

   judgment is appropriate, “the evidence, and all inferences drawn from the facts, must be viewed

   in the light most favorable to the non-moving party.” Bush v. Houston Cnty. Comm’n, 414 F.

   App’x 264, 266 (11th Cir. 2011).

                                              DISCUSSION

   A.     42 U.S.C. § 3604(f) Claim

          The Federal Fair Housing Act (“FHA”) makes it unlawful to discriminate against any

   individual in the terms, conditions, or privileges of sale or rental of a dwelling, or in the

   provision of services or facilities in connection with such a dwelling because of that individual’s




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   handicap. 42 U.S.C. § 3604(f)(2). An individual is handicapped, according to the FHA, if the

   person has (1) a physical or mental impairment that substantially limits one or more of such

   person’s major life activities, (2) a record of such impairment, or (3) is regarded as having such

   an impairment. 42 U.S.C. § 6302(h)(1)-(3). “Major life activity” can include “the operation of a

   major bodily function” and/or “caring for oneself, performing manual tasks, seeing, hearing,

   eating, sleeping, breathing, learning, reading, concentrating, thinking, communicating,

   interacting with others, and working.” 3 29 C.F.R. § 1630.2(i) (as amended by 76 F.R. 16978–

   01).

                                                         The FHA establishes that discrimination includes refusing to make reasonable

   accommodation in rules, policies, practices or services, when such accommodations may be

   necessary to afford such person equal opportunity to use and enjoy a dwelling. 42 U.S.C. §

   3604(f)(2). Thus, to state a claim under 42 U.S.C. § 3604(f)(3)(B) for failure to make a

   reasonable accommodation, a plaintiff must demonstrate that: “(1) he is disabled or handicapped

   within the meaning of the FHA, (2) he requested a reasonable accommodation, (3) such

   accommodation was necessary to afford him an opportunity to use and enjoy his dwelling, and

   (4) the defendants refused to make the requested accommodation.” Falin v. Condo. Ass’n of La

   Mer, No. 11-61903-CIV, 2012 WL 1910021 at *3 (S.D. Fla. May 28, 2012).

                                                         Plaintiff fails to establish the first element of a prima facie case of discrimination,

   namely, that he is disabled or handicapped within the meaning of the FHA. The record is devoid

   of any evidence that demonstrates that Plaintiff suffers from a physical or mental impairment that

   substantially limits one or more of his major life activities. As this is an element of the claim
   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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     The definition of “major life activities” is borrowed from the Americans with Disability Act (“ADA”)
   because the FHA does not define “major life activities.” See McKay v. South Seas East Condo.
   Apartments of Marco Island, Inc., No. 2:12-cv-68-FtM-29SPC, 2012 WL 2872856 at *3 n.6 (M.D. Fla.
   July 12, 2012) (citing McManus v. Cherry, 1:08–cv–0010, 2010 WL 5638108 at *4 (N.D. Fla. Nov.19,
   2010)).


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   Plaintiff brings, it is his burden to make this showing. In fact, Plaintiff hindered the efforts of

   Defendant to inquire about Plaintiff’s disabled state. See, e.g., Pl.’s Mot. Protective Order &

   Quash or Modify Subpoena, ECF No. 14; Pl.’s Mot Reconsideration &/or Clarification, ECF

   No. 18; Def.’s Mot. Compel Better Answers to Discovery, ECF No. 19; Def.’s Mot. Order to

   Show Cause against Dr. Steven Jay Strumwasser Pursuant to Fed. R. Civ. P. 45(e), ECF No. 29.

          A defendant “cannot be liable for refusing to grant a reasonable and necessary

   accommodation if [the defendant] never knew the accommodation was in fact necessary.”

   McKay v. South Seas East Condo. Apartments of Marco Island, Inc., No. 2:12-cv-68-FtM-

   29SPC, 2012 WL 2872856 at *4 (M.D. Fla. July 12, 2012) (citing U.S. v. Hialeah Hous. Auth.,

   418 F. App'x 872 (11th Cir. 2011)). “[F]or a demand to be specific enough to trigger the duty to

   provide a reasonable accommodation, the defendant must have enough information to know of

   both the disability and desire for an accommodation, or circumstances must at least be sufficient

   to cause a reasonable [defendant] to make appropriate inquiries about the possible need for an

   accommodation.” McKay v. South Seas East Condo. Apartments of Marco Island, Inc., No.

   2:12-cv-68-FtM-29SPC, 2012 WL 2872856 at *4 (M.D. Fla. July 12, 2012) (citing U.S. v.

   Hialeah Hous. Auth., 418 Fed. App'x. 872, 876 (11th Cir. 2011) (internal quotations omitted)).

          However, “the duty to make a reasonable accommodation does not simply spring from

   the fact that the handicapped person wants such an accommodation made. Defendants must

   instead have ... the ability to conduct a meaningful review of the requested accommodation....”

   McKay v. South Seas East Condo. Apartments of Marco Island, Inc., No. 2:12-cv-68-FtM-

   29SPC, 2012 WL 2872856 at *4 (M.D. Fla. July 12, 2012) (citing U.S. v. Hialeah Hous. Auth.,

   418 F. App'x 872, 876 (11th Cir. 2011) (internal quotations omitted)). “Demonstrating that a

   proposed accommodation is necessary ‘requires at a minimum the showing that the desired




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   accommodation will affirmatively enhance a disabled plaintiff's quality of life by ameliorating

   the effects of the disability.’” Falin v. Condo. Ass’n of La Mer, No. 11-61903-CIV, 2012 WL

   1910021 at *3 (S.D. Fla. May 28, 2012) (quoting Bronk v. Ineichen, 54 F.3d 425, 429 (7th

   Cir.1995)).   There is nothing in the record that establishes that China ameliorated any of

   Plaintiff’s asserted disabilities. Plaintiff’s failure to submit additional documentation regarding

   his disability and to allow Defendant to inquire directly of Plaintiff’s physician, did not permit

   Defendant an opportunity to review the requested accommodation to ensure that China was a

   necessity, rather than a desire.

          This matter is analogous to and governed by the Eleventh Circuit’s decision in Hawn v.

   Shoreline Towers Phase 1 Condominium Association, Inc., 347 F. App’x 464 (11th Cir. 2009).

   In Hawn, the plaintiff informed his condominium association that he had acquired a pet, and the

   association’s policy against pets impaired his enjoyment of his home. Id. at 465. When the

   association did not respond favorably or otherwise, the plaintiff sent another letter stating that he

   suffered from a physical and psychiatric disability necessitating his service animal. Attached to

   his correspondence were letters from his chiropractor and psychologist asserting that a service

   animal was medically necessary. Id. at 466. The association requested additional information to

   consider the request, including documentation supporting plaintiff’s disabilities and the

   qualifications of the physicians. Plaintiff did not respond to the request, which resulted in the

   association’s denial of the accommodation. Id. Upholding the district court’s grant of summary

   judgment to the condominium association, the Eleventh Circuit concluded that plaintiff’s “letter

   included unclear explanations as to the nature and extent of his disability,” and his “refusal to

   comply with subsequent requests for reasonable documentation prevented Shoreline from

   conducting a meaningful review of Hawn's application.”




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          Similarly, Mr. Robin’s initial documentation from his provider does not detail Plaintiff’s

   disability, the level of any impairment, or any manner in which China, as opposed to some other

   mechanism or animal, would alleviate or lessen the disability.              Further, Mr. Robins’

   happenchance discovery of China and initial maintenance of her as a pet belies later claims of

   necessity of China as a service animal only when the Association cautioned Mr. Robins about his

   violation of the pet police. See Hawn, 347 F. App’x at 468 (holding plaintiff’s letter of disability

   to be inconsistent with primary reasons provided for wanting a pet).

          Because I have determined that Plaintiff has not established the first element of the prima

   facie case of discrimination under 42 U.S.C. § 3604(f), I will not consider Defendant’s remaining

   arguments regarding the necessity and reasonableness of Plaintiff’s requested accommodation.

   B.     42 U.S.C. § 3617 Claim

          In addition to a prohibition on discrimination, the FHA also makes it “unlawful to coerce,

   intimidate, threaten, or interfere with any person in the exercise or enjoyment of, or on account

   of his having exercised or enjoyed, or on account of his having aided or encouraged any other

   person in the exercise or enjoyment of, any right granted or protected [under this] title.” 42

   U.S.C. § 3617. In order to state a claim under 42 U.S.C. § 3617, a plaintiff must demonstrate the

   following: “(1) the [] individual[] [is a] member[] of a protected class under the Fair Housing

   Act; (2) the individual[] on whose behalf this suit is brought exercised or enjoyed a right

   protected by §§ 3603–3606, or aided or encouraged others in exercising or enjoying such rights;

   (3) the Defendant’[s] conduct was at least in part intentional discrimination; and (4) the

   Defendant’[s] conduct constituted coercion, intimidation, threat, or interference on account of

   having exercised, or aided or encouraged others in exercising, a right protected under §§ 3603–

   3606.” U.S. v. Sea Winds of Marco, Inc., 893 F. Supp. 1051,1055 (M.D. Fla. 1995).




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          For the reasons provided supra, Mr. Robins has not carried his burden of demonstrating

   that he is a member of a protected class under the FHA. Thus, his claim under 42 U.S.C. § 3617

   is not sustainable. Further, however, Plaintiff fails to demonstrate that Defendant’s conduct

   amounted to “coercion, intimidation, threat, or interference.”

          While the Association’s board members, directors, and associates’ conduct, as described

   by Plaintiff, is reprehensible, it does not rise to the level of coercion, intimidation, threats, or

   interference necessary under 42 U.S.C. § 3617. See, e.g., Sofarelli v. Pinellas Cnty., 931 F.2d

   718, 722 (11th Cir.1991) (finding that a note threatening “to break [the plaintiff] in half,” hitting

   his truck, shouting obscenities and spitting at him constituted coercion and intimidation under §

   3617 when there was also an indication that there was a discriminatory motivation behind that

   conduct); Sea Winds of Marco, Inc., 893 F. Supp. 1051 (stating a claim where the corporate

   defendant instituted a policy requiring identification wristbands to be worn but the policy was

   only enforced against Hispanic tenants and Hispanic tenants were selectively monitored and

   derogatory remarks made against them); Johnson v. Smith, 810 F. Supp. 235, 238–39 (N.D. Ill.

   1992) (denying motion to dismiss based upon allegations that the defendants burned a cross on

   the plaintiff's property); People Helpers Foundation v. City of Richmond, 781 F .Supp. 1132,

   1133 (E.D. Va. 1992) (finding retaliation claim under circumstances where neighbors made

   derogatory comments, gathered other neighbors together in a threatening manner and complained

   to the police that they did not want these “types” from living in the building, the plaintiff

   adequately pled a retaliation claim under FHA).

          Contrastingly, Plaintiff presents no evidence that he was threatened with harm, eviction,

   or anything of the like. The only “threat” Plaintiff alludes to is the banning of China from the

   premises where the Association had evidence of China’s violence against other unit owner’s




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   pets. Mr. Robins’ enjoyment of his home cannot supersede the safety and enjoyment of others in

   their homes.

                                             CONCLUSION

             Having reviewed the arguments and the record, I find that Plaintiff fails to establish a

   prima facie case of his claims. Plaintiff does not adequately demonstrate that he is disabled or

   handicapped within the meaning of the FHA sufficient to survive summary judgment of his FHA

   reasonable accommodation and intimidation claims. Nor does he demonstrate that Defendant’s

   conduct constituted coercion, intimidation, threats, or interference necessary to state a 42 U.S.C.

   § 3617 violation claim.       Accordingly, summary judgment in favor of the Defendant is

   appropriate.

             It is, therefore, ORDERED and ADJUDGED that:

          1. Defendant The Towers of Quayside No. 1 Condominium Association, Inc.’s Motion for

             Summary Judgment (ECF No. 36) is GRANTED.

          2. The Plaintiff’s Complaint is DISMISSED.

          3. The Clerk is directed to CLOSE this case.

          4. All pending motions, if any, are DENIED as moot.

             DONE AND ORDERED in chambers at Miami, Florida, this 28th day of November

   2012.




   Copies furnished to:
   William C. Turnoff, U.S. Magistrate Judge
   Counsel of record
   	  


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